               Case 2:09-cr-00487-JAM Document 59 Filed 07/23/10 Page 1 of 2


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 4
     Attorney for Defendant
 5
     JORGE PENA
 6
                             IN THE UNITED STATES DISTRICT COURT
 7
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                        )       No. CR. S-09-0487 FCD
                                                      )
10
                                                      )
            Plaintiff,                                )       DEFENDANT’S WAIVER OF
11
                                                      )       APPEARANCE
     v.                                               )
12
                                                      )
     JORGE PENA,                                      )
13
                                                      )       Judge: Honorable Frank C. Damrell, Jr.
                                                      )
14          Defendant.                                )
                                                      )
15
                                                      )
                                                      )
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18
            Pursuant to Fed.R.Crim.P. 43, defendant, JORGE PENA, hereby waives the right to be
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     present in person in open court upon the hearing of any motion or other proceeding in this case,
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     including, but not limited to, when the case is set for trial, when a continuance is ordered, and
21
     when other action is taken by the Court before or after trial, except upon arraignment, initial
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     appearance, trial confirmation hearing, entry of plea, and every stage of trial including verdict,
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     impanelment of jury and imposition of sentence.
24
            Defendant hereby requests the Court to proceed during every absence of his which the
25
     Court may permit pursuant to this waiver and agrees that his interests will be deemed represented
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     at all times by the presence of his attorney, the same as if the defendant were personally present.
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     Defendant further agrees to be present in Court ready for trial any day and hour the Court may
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     fix in his absence.


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              Case 2:09-cr-00487-JAM Document 59 Filed 07/23/10 Page 2 of 2



 1          The defendant further acknowledges that he has been informed of his rights under Title
 2   18 U.S.C §§ 3161-3174 (The Speedy Trial Act) and authorizes her attorney to set times and
 3   delays without his personal appearance.
 4

 5   Dated: 1/6/10
 6

 7                                                        /s/ Jorge Pena
                                                         JORGE PENA
 8
                                                         (Original retained by attorney)
 9

10
            I concur in Mr. Pena’s decision to waive his presence at future proceedings.
11

12
     Dated: January 7, 2010                              Respectfully submitted,
13

14
                                                          /s/ John R. Manning
15                                                       JOHN R. MANNING
                                                         Attorney at Law
16
                                                         Attorney for Defendant
17                                                       JORGE PENA

18

19          IT IS SO ORDERED.

20   Dated: July 22, 2010

21                                             _______________________________________
                                               FRANK C. DAMRELL, JR.
22
                                               UNITED STATES DISTRICT JUDGE
23

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